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                                         June 13, 2023

Michael Gans
Clerk, United States Court of Appeals for the Eighth Circuit
Thomas F. Eagleton Courthouse
111 South 10th Street, Room 24.329
St. Louis, MO 63102

         Re:         Ark. State Conference NAACP v. Ark. Bd. of Apportionment,
                     No. 22-1395

Dear Mr. Gans:

       I write to respond to Plaintiffs’ and the United States’ supplemental letters
on Allen v. Milligan and Health & Hospital Corp. of Marion County v. Talevski.
Plaintiffs acknowledge that Milligan “does not address whether §2 contains a
private right of action.” Milligan, slip op at 47 n.22 (Thomas, J., dissenting). They
merely argue that the fact it didn’t means that question isn’t jurisdictional. But the
Supreme Court’s tacit assumption that the cause-of-action question is not
jurisdictional cannot overrule, sub silentio, this Court’s clear precedent that it is,
see Cross v. Fox, 23 F.4th 797 (8th Cir. 2022). And even if the question were not
jurisdictional, the district court was within its authority to raise it so long as it
provided pre-dismissal notice—as it did. See Appellees’ Br. 54 (citing Smith v.
Boyd, 945 F.2d 1041 (8th Cir. 1991)). Milligan doesn’t affect the outcome here.
       Plaintiffs and the United States also argue that Talevski supports Plaintiffs’
ability to bring their Section 2 claims under Section 1983. To start, Plaintiffs never
raised Section 1983 below nor sought leave to amend to do so. So this Court
cannot reverse the District Court for failing to entertain Section 1983 claims
Plaintiffs never made. See Appellees’ Br. 52 (collecting cases). Instead, at most,



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Plaintiffs could file a new lawsuit. Yet even if the Court excused that waiver,
Talevski doesn’t make Plaintiffs’ hypothetical Section 1983 claims any more
cognizable. To the contrary, it reaffirms the principle that rights like Section 2’s
that have “an aggregate, not individual, focus” are not enforceable under Section
1983. Talevski, slip op. at 16; id. at 14, 2 (Barrett, J., concurring). Section 2 rights
are aggregate, see Appellees’ Br. 18-22, and therefore aren’t proper subjects of a
Section 1983 suit. Moreover, as Justice Barrett joined by Chief Justice Roberts
explained, even if Plaintiffs could overcome that, where Congress expressly
confers enforcement authority on government officials, that’s a clue “that a statue
forecloses recourse to §1983.” Talevski, slip op. at 3 (Barrett, J., concurring). And
that’s true of Section 2. See Appellees’ Br. 2-3, 24, 50.

                                         Respectfully submitted,

                                         /s Nicholas J. Bronni
                                         Nicholas J. Bronni
                                         Solicitor General




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